Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1184 Page 1 of 6
Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1185 Page 2 of 6
Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1186 Page 3 of 6
Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1187 Page 4 of 6
Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1188 Page 5 of 6
Case 2:12-cr-00120-RMP   ECF No. 309   filed 09/05/13   PageID.1189 Page 6 of 6
